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     FREEDMAN NORMAND FRIEDLAND LLP
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     Counsel for Plaintiffs
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 9
                                UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11
12   DANIEL VALENTI, Individually and On Behalf   Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
13                                                ATTORNEY DECLARATION OF
                                Plaintiff,        EDWARD NORMAND IN SUPPORT
14                                                OF PLAINTIFFS’ MOTION FOR
                   v.
                                                  LEAVE TO FILE A NOTICE OF
15                                                SUPPLEMENTAL EVIDENCE IN
     DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION, and DOMINIC WILLIAMS,            OPPOSITION TO DEFENDANTS’
16
                                                  MOTION TO DISQUALIFY
17                              Defendants.

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     DECLARATION OF EDWARD NORMAND IN SUPPORT OF PLAINTIFFS’ MOTION FOR
            LEAVE TO FILE SUPPLEMENTAL EVIDENCE – No. 3:21-cv-06118
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 1                             DECLARATION OF EDWARD NORMAND
 2          I, Edward Normand, declare:
 3          1.     I am an attorney admitted in New York and pro hac vice to appear before this Court.
 4   I am a partner with the law firm Freedman Normand Friedland LLP (f/k/a Roche Freedman LLP)
 5   (“FNF”), counsel to Plaintiffs in this action. I submit this declaration on my own personal
 6   knowledge. If called to testify to the matters herein, I could and would competently do so.
 7          2.     I submit this declaration in support of Plaintiffs’ Administrative Motion for Leave to
 8   File a Notice of Supplemental Evidence in Opposition to Defendants’ Motion to Disqualify.
 9          3.     Attached hereto as Exhibit 1 is the Expert Report of David Kalat, dated March 10,
10   2023, in the matter Roche Freedman LLP v. Cyrulnik, No. 1:21-cv-1746 (S.D.N.Y.).
11          I declare under penalty of perjury under the laws of the United States that the foregoing is
12   true and correct to the best of my knowledge.
13
     Dated: March 15, 2023                       Respectfully Submitted,
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                                                 FREEDMAN NORMAND FRIEDLAND LLP
15
                                                 /s/ Edward Normand
16                                               Edward Normand
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                                                 Counsel for Plaintiffs and the Class
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      DECLARATION OF EDWARD NORMAND IN SUPPORT OF PLAINTIFFS’ MOTION FOR
             LEAVE TO FILE SUPPLEMENTAL EVIDENCE – No. 3:21-cv-06118
